                       Case 5:22-cv-04486-BLF Document 118 Filed 10/12/22 Page 1 of 4


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           13    .
           14                           IN THE UNITED STATES DISTRICT COURT
                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
           15
                                               SAN FRANCISCO DIVISION
           16
                 PHIL MICKELSON, TALOR GOOCH,             CASE NO. 5:22-CV-04486-BLF-SVK
           17    HUDSON SWAFFORD, MATT JONES,
                 BRYSON DECHAMBEAU, IAN POULTER,          NOTICE OF LODGING ADDITIONAL
           18    PETER UIHLEIN, and LIV GOLF INC.,        INFORMATION IN RE JOINT DISCOVERY
                                                          SUBMISSION RE: DKT NO. 112 UNDER
           19                         Plaintiffs,         SEAL

           20           v.

           21    PGA TOUR, INC.,

           22                         Defendant.

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Gibson, Dunn &      NOTICE OF LODGING ADDITIONAL INFORMATION IN RE JOINT DISCOVERY SUBMISSION
Crutcher LLP
                                            RE: DKT NO. 112 UNDER SEAL
                                         CASE NO. 5:22-CV-04486-BLF-SVK
                       Case 5:22-cv-04486-BLF Document 118 Filed 10/12/22 Page 2 of 4


             1
                 TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
             2
                        PLEASE TAKE NOTICE THAT pursuant to the Court’s Order (Dkt. 113), Plaintiff LIV
             3
                 Golf, Inc. submits to the Court under seal PGA_TOUR0000001–PGA_TOUR0000004 (Exhibit 1)
             4
                 and PGA_TOUR0000005–PGA_TOUR0000011 (Exhibit 2). LIV does not take the position that
             5
                 these documents are confidentially protected, but Defendant PGA Tour, Inc. has designated the
             6
                 documents as Confidential under the Protective Order (Dkt. 111). The documents are therefore being
             7
                 filed under seal pursuant to the Court’s Order (Dkt. 113). Further, Exhibits 1 and 2, pursuant to the
             8
                 Court’s Order (Dkt. 113) have been modified to indicate the designated custodians in this action.
             9
                 Names in blue in Exhibits 1 and 2 indicate the individual is an agreed to custodian, i.e., Jay Monahan,
           10
                 Ron Price, Andy Pazder, Rick Anderson, Brian Oliver, Bill Schroder, Andy Levinson, and Kristen
           11
                 Burgess. Ross Berlin is also an agreed to custodian, but is a former employee and not listed in either
           12
                 Exhibits 1 or 2. Names in red in Exhibits 1 and 2 indicate the individual is a disputed custodian, i.e.,
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                 Phil Marburger, Thierry Pascal, Laura Neal, Matt Rapp, and Chad Burgess. The Parties are at an
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                 impasse as to the list of Defendant custodians, and a joint statement presenting the Parties’ positions
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                 is forthcoming.
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                                          CASE NO. 5:22-cv-04486-BLF-SVK
                      Case 5:22-cv-04486-BLF Document 118 Filed 10/12/22 Page 3 of 4


             1   DATED: October 12, 2022
                                                            GIBSON, DUNN & CRUTCHER LLP
             2

             3                                           By:   /s/ Rachel S. Brass
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           27                                            DeChambeau, Peter Uihlein, and LIV Golf Inc.
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                                                        2
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                       Case 5:22-cv-04486-BLF Document 118 Filed 10/12/22 Page 4 of 4


             1                     ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

             2          Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that

             3   concurrence in the filing of the document has been obtained from each of the other signatories to this

             4   document.

             5
                 DATED: October 12, 2022                     GIBSON, DUNN & CRUTCHER LLP
             6

             7
                                                             By:          /s/ Rachel S. Brass
             8                                                              Rachel S. Brass
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